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                              IN THE UNITED STATES DISTRICT
                                  COURT FOR THE EASTERN
                                   DISTRICT OF VIRGINIA
                                       Norfolk Division

  SDC, INC.,

       Plaintiff,

  v.                                                  Case No. 2:23cv418

  OASIS POOLS AND HARDSCAPES,
  LLC
  SAVVAS SAKKADAS,
  INDIVIDUALLY
  WILLIAM HENRY, INC.
      D/B/A
  TIDAL WAVE GRAPHICS

       Defendants.


                       CONSENT MOTION TO EXTEND RESPONSIVE
                                PLEADING DEADLINE

           COME NOW Defendants Oasis Pools and Hardscapes, LLC and Savvas Sakkadas,

  individually, (hereinafter “Defendants”), by counsel, with the consent of Plaintiff and

  pursuant to Fed. R. Civ. P. 6(b)(1)(A), and hereby respectfully request an extension of time

  to file pleadings in response to Plaintiff’s Complaint [ECF No. 1] to November 3, 2023.

  Defendants state as follows in support of this Motion:

           1.       Plaintiff filed his Complaint on August 24, 2023. [ECF No. 1]. Pursuant to

  Fed. R. Civ. P. 15 (a)(3), Defendants’ responsive pleadings are due on September 19, 2023.

           2.       Rule 6(b) permits the Court to extend time for good cause if the request is

  made within the time to act.

           3.       An extension will permit Counsel for Defendants sufficient time to




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  investigate the allegations as asserted in the Complaint in order to file responsive pleadings

  on behalf of Defendants.

         4.      Counsel for Plaintiff consents to Defendants’ motion. Specifically, on

  September 13, 2023, counsel for Plaintiff consented to an extension of time for Defendants

  to file responsive pleadings until November 3, 2023.

         5.      Accordingly, no prejudice to the parties will result from extending the

  deadline for Defendants to file responsive pleadings.

         6.       Furthermore, no prejudice will befall the Court in extending the Defendants’

  deadline to file responsive pleadings, as no scheduling order has been entered in this matter,

  and the case is in its early stages and as of the date of this Motion.

         7.       Good cause exists to extend the time to file responsive pleadings to

  November 3, 2023. Defendants are diligently participating in this lawsuit and this request

  is not intended for any purpose of delay. Further, an extension will permit undersigned

  counsel the opportunity to investigate the allegations set forth in the Complaint, and to

  meaningfully confer with interested parties.

         8.       This motion is not made for the purpose of delay or any other improper

  purpose.

       A proposed Order is attached as Exhibit 1 to this motion.


         WHEREFORE, Oasis Pools and Hardscapes, LLC and Savvas Sakkadas,

  individually, respectfully request the Court to extend their deadline to file responsive

  pleadings to Plaintiff’s Complaint to November 3, 2023, and for all further relief the Court

  deems just and proper.




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                                                        /s/

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                                           Counsel for Oasis Pools and Hardscapes, LLC, and
                                           Savvas Sakkadas, individually



                                   CERTIFICATE OF SERVICE
         I hereby certify that on this 19th day of September, 2023, I electronically filed the
 foregoing with the Clerk of Court using the CM/ECF system, which will send a notification of
 such filing (NEF) to the following:

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                                                        /s/

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